EEQC Form 161-B (11/09) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

NoTICE OF RIGHT TO SUE (/SSUED ON REQUEST)

To: David A. Stebbins From: St. Louis District Office
1407 N Spring Rd., Apt 5 Robert A. Young Bidg
Harrison, AR 72601 1222 Spruce St, Rm 8.10C

Saint Louis, MO 63103

On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))

EEOC Charge No. EEOC Representative Tel phone No.

Jeffrey S. Jones,
563-2010-00186 Investigator (3° 4) 539-7935

(See also the additional information er. closed with this form.)

NOTICE TO THE PERSON AGGRIEVED:

Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Informatior Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numb red charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state cou rt WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit ba: ed on a claim under
state law may be different.)

More than 180 days have passed since the filing of this charge.

[] Less than 180 days have passed since the filing of this charge, but | have determined that it is unlikel ' that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge.

The EEOC is terminating its processing of this charge.
[ ] The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after th: charge was filed until
90 days after you receive notice that we have completed action on the charge. in this regard, the paragraph mark :d below applies to
your case:

The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal o1 state court WITHIN
90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbere: charge will be lost.

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The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means the t backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

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On behalf of the Commission JLN 3 0 2010

On. Le.

Enclosures(s) James R. Neely, Jr., ( (Date Mailed)
Director
ce. Keith Richardson
Owner

RELIABLE HEAT & AIR, L.L.C.
584 Animal Safari Road
Branson, MO 65615

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Enclosure with EEOC
Form 161-B (11/09)

INFORMATION RELATED TO FILING SuIT
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
If you also plan to sue claiming violations of State law, please be aware that time limits anc other
provisions of State law may be shorter or more limited than those described below. )

Title VII of the Civil Rights Act, the Americans with Disabilitics Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or th: Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in th : charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If yo 1 intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its er velope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not ac: in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to jou (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that con ains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may incluc e any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the m itters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred. but in some
cases can be brought where relevant employment records are kept, where the employment would iave been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write you” complaint or
make legal strategy decisions for you.

PRIVATE SUITRIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA unc erpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you shc uld file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit fr filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred {> above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing 2n the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay rec overy period.

ATTORNEY REPRESENTATION -- Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court h iving jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assis ance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain n detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mer tioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE’ -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer c ° if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If‘ ou need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writir g and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to re view the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any reque st should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFF CE.

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A. EEOC Form 6 (11/03) ‘

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CHARGE OF DISCRIMINATION Charge Presented To: Agenc ‘(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [] FEPA Xe KFEC TE \
Statement and other information before completing this form. t
EEOC 5€ 3-2010-00186
Missouri Commission On Human Rights and EEOC
State or local Agency, if any
Name (indicate Mr., Ms., Mrs.) Home Phone (inci. Area Code) Date of Birth
Mr. David A. Stebbins (870) 204-6024
Street Address City, State and ZIP Code

1407 N Spring Rd., Apt 5, Harrison, AR 72601

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agi ncy That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

Name No, Employees, Members Phe 1e No. (include Area Code)

RELIABLE HEAT & AIRLLC 15-100 417) 339-9300

Street Address City, State and ZIP Code

584 Animal Safari Road, Branson, MO 65615

Name No. Employees, Members Phi ne No. (Include Area Code)

Street Address City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(es).} DATE(S) DISCRIMINé TION TOOK PLACE
Earliest Latest

[| RACE [| COLOR [] SEX [| RELIGION [| NATIONAL ORIGIN 05-01-2009 07-01-2009
[| OTHER (Specify) [| CON] INUING ACTION

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s)):

I. | was employed by the above named employer from May 2009 until June 2009. I fy last position
was a Customer Service Representative. | requested a reasonable accommodat on due to my
disability to Owner, Keith Richardson, however, it was denied and as a result of ny medical
condition it caused me to be terminated.

IL. | believe | have been discriminated against due to my disability in violation of the Americans with
Disability Act of 1990, as amended.

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local A yency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their
procedures.

| swear or affirm that | have read the above :harge and that it is true to
I declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and | elief.

SIGNATURE OF COMPLAINANT

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: SUBSCRIBED AND SWORN TO BEFORE ME TI {S DATE
| Qo [ q- 0b q / (month, day, year)
7 y

Date Charging Party Signature

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